     Case 2:20-cv-07145 Document 1 Filed 08/08/20 Page 1 of 16 Page ID #:1



 1    JOHN R. HABASHY, ESQ. (SBN 236708)
      (john@lexiconlaw.com)
 2    TIFFANY N. BUDA, ESQ. (SBN 232679)
      (tiffany@lexiconlaw.com)
 3    LEXICON LAW, PC
      633 W. Fifth St., 28th Floor
 4    Los Angeles, CA 90071
      Telephone: (213)233-5900
 5    Facsimile: (888) 373-2107
 6    RYAN M. KELLY, ESQ. (IL SBN 2567931)
      (rkelly@andersonwanca.com)
 7    (Pro Hac Vice to be submitted)
      ANDERSON + WANCA
 8    3701 Algonquin Road, Suite 500
      Rolling Meadows, IL 60008
 9    Telephone: (847) 368-1500
      Facsimile: (847) 368-1501
10
      Counsel for Plaintiff and the Proposed Class
11
                          UNITED STATES DISTRICT COURT
12
                         CENTRAL DISTRICT OF CALIFORNIA
13
                                   WESTERN DIVISION
14
15    GEORGE PAPPAS, individually and
                                               CASE NO.: 2:20-cv-07145
16    as the representative of a class of
      similarly-situated persons,
17
                                               COMPLAINT FOR VIOLATIONS
18                             Plaintiff,      OF THE TELEPHONE CONSUMER
      v.                                       PROTECTION ACT OF 1991
19                                             (“TCPA”), AS AMENDED BY THE
                                               JUNK FAX PREVENTION ACT OF
20    GOODRX, INC. and                         2005, 47 U.S.C. § 227 (“JFPA”)
      GOODRX HOLDINGS, INC.,
21    Delaware corporations,
22                             Defendants.     CLASS ACTION
23
24
25
26
27
28

                                            1
                                 CLASS ACTION COMPLAINT
     Case 2:20-cv-07145 Document 1 Filed 08/08/20 Page 2 of 16 Page ID #:2



1           Plaintiff, George Pappas (“Plaintiff”), individually and on behalf of all others
2
      similarly situated, brings this Class Action Complaint (the “Complaint”) against
3
4     Defendants, GoodRx, Inc. and GoodRx Holdings, Inc. (“Defendants”), and alleges,

5     upon personal knowledge as to his own conduct, and upon information and belief as
6
      to the conduct of others, as follows:
7
8                             I. JURISDICTION AND VENUE
9           1.     This Court has subject matter jurisdiction under 28 U.S.C. § 1331 and
10
      47 U.S.C. § 227.
11
12          2.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because
13    Defendants’ principal places of business are located in this district.
14
                                     II. INTRODUCTION
15
16          3.     This case challenges Defendants’ practice of sending unsolicited
17    automated text messages to the cellular telephones of Plaintiff and Class members
18
      in violation of the Telephone Consumer Protection Act of 1991 (“TCPA”), as
19
20    amended by the Junk Fax Prevention Act of 2005, 47 U.S.C. § 227 (“JFPA”), and
21    the regulations promulgated thereunder by the Federal Communications
22
      Commission (“FCC”).
23
24          4.     Defendants sent at least one (1) unauthorized text message to
25    Plaintiff’s cell phone using an automatic telephone dialing system (“ATDS” or
26
      “auto -dialers”) for the purpose of soliciting business from Plaintiff.
27
28

                                              2
                                   CLASS ACTION COMPLAINT
     Case 2:20-cv-07145 Document 1 Filed 08/08/20 Page 3 of 16 Page ID #:3



1           5.    The TCPA regulates, among other things, the use of ATDS.
2
      Specifically, the TCPA prohibits the use of auto dialers to make any call to a
3
4     cellular telephone number in the absence of an emergency or the prior express

5     consent of the person being called. 47 U.S.C. § 227(b)(1)(A)(iii) (emphasis added).
6
            6.    The TCPA defines ATDS as “equipment that has the capacity - (A) to
7
8     store or produce telephone numbers to be called, using a random or sequential
9     number generator; and (B) to dial such numbers.” 47 U.S.C§ 227 (a)(1).
10
            7.    The FCC is empowered to issue rules and regulations implementing
11
12    the TCPA. The FCC has clarified that text messages qualify as “calls” under the
13    TCPA, affirming that:
14
            under the TCPA, it is unlawful to make any call using an automatic
15
16          telephone dialing system or an artificial or prerecorded message to
17          any wireless telephone number.       Both the statute and our rules
18
            prohibit these calls, with limited exceptions, “to any telephone
19
20          number assigned to paging service, cellular service, or any service for
21          which the party is charged.” This encompasses both voice calls and
22
            text calls to wireless numbers including, for example, short
23
24          message service (SMS) calls, provided the call is made to a
25          telephone number assigned to such service.
26
      In re Rules and Regulations Implementing the Telephone Consumer Protection Act
27
28    of 1991, Report and Order, 18 FCC Rcd. 14014, 14115 (July 3, 2003) (“2003

                                            3
                                 CLASS ACTION COMPLAINT
     Case 2:20-cv-07145 Document 1 Filed 08/08/20 Page 4 of 16 Page ID #:4



1     Order”) (emphasis added); see Gager v. Dell Fin. Servs., LLC, 727 F.3d 265, 269
2
      n.2 (3rd Cir. 2013).
3
4           8.     The FCC has further clarified that, except for calls made by tax-

5     exempt nonprofit organizations or health care messages, any telephone call using an
6
      automatic telephone dialing system that includes or introduces an advertisement or
7
8     constitutes telemarketing must have prior express written consent as provided at 47
9     C.F.R. § 64.1200(f)(8) to be compliant with the TCPA. 47 C.F.R. § 64.1200(a)(2).
10
      (emphasis added). The FCC defines “telemarketing” as “the initiation of a
11
12    telephone call or message for the purpose of encouraging the purchase or rental of,
13    or investment in, property, goods, or services.” 47 C.F.R. § 64.1200(f)(12).
14
            9.     The FCC has found that automated or prerecorded calls are a greater
15
16    nuisance and invasion of privacy than live solicitation calls, and such calls can be
17    costly and inconvenient. The FCC also recognized that wireless customers are
18
      charged for incoming calls whether they can pay in advance or after the minutes are
19
20    used. 2003 Order, 18 FCC Rcd. 14014, 14115.
21          10.    Plaintiff, on behalf of himself and all others similarly situated, brings
22
      this case as a class action asserting claims against Defendants under the TCPA.
23
24          11.    Plaintiff is informed and believes, and upon such information and
25    belief avers, that this action is based upon a common nucleus of operative facts
26
      because the unsolicited automated text messages at issue were and are being sent in
27
28

                                             4
                                  CLASS ACTION COMPLAINT
     Case 2:20-cv-07145 Document 1 Filed 08/08/20 Page 5 of 16 Page ID #:5



1     the same or similar manner. This action is based on the same legal theory, namely
2
      liability under the TCPA.
3
4           12.   This action seeks relief expressly authorized by the TCPA: (a)

5     injunctive relief enjoining Defendants from sending unsolicited automated text
6
      messages without prior express consent; (b) injunctive relief enjoining Defendants
7
8     from sending unsolicited automated text messages that includes or introduces an
9     advertisement or constitutes telemarketing without prior express written consent;
10
      and (c) an award of statutory damages in the minimum amount of $500 for each
11
12    violation of the TCPA, and, in the event of finding a willful or knowing violation,
13    to have such damages trebled, as provided by § 227(b)(3) of the Act.
14
                                        III. PARTIES
15
16          13.   Plaintiff, George Pappas, is a citizen of Illinois.
17          14.   Defendants, GoodRx, Inc. and GoodRx Holdings, Inc., are Delaware
18
      corporations with their principal places of business in Santa Monica, CA.
19
20    Defendants provide a price comparison platform for prescription drugs. Defendants
21    gather prices and discounts for prescription drugs. They do not sell the drugs, but
22
      direct consumers to drugstores and pharmacies with the best deal and offer
23
24    coupons.
25          15.   Whenever in this Complaint it is alleged that Defendants committed
26
      any act or omission it is meant that Defendants’ officers, directors, employees,
27
28    and/or agents committed such act or omission and that at the time such act or

                                             5
                                  CLASS ACTION COMPLAINT
     Case 2:20-cv-07145 Document 1 Filed 08/08/20 Page 6 of 16 Page ID #:6



1     omission was committed, it was done with the full authorization, ratification or
2
      approval of Defendants or was done in the routine normal course and scope of
3
4     employment of Defendants’ officers, directors, employees, and agents.

5                                         VI. FACTS
6
            16.    On or about July 23, 2020, Defendants sent Plaintiff a text message
7
8     (the “Text”) to his cellular telephone number via ATDS, as defined by 47 U.S.C. §
9     227(a)(l), without first obtaining Plaintiff’s written consent. A true and correct copy
10
      of the screenshot of the Text is attached hereto as Exhibit A.
11
12          17.    The Text message states:
13                 “…GoodRx: Don’t miss out.         Save on your refill today at Jewel-
14
                   Osco…Questions?        1-855-426-4465      Check     the    latest   price:
15
16                 http://bit.ly/2pWzPBs...”
17          18.    Plaintiff is the exclusive user of the cellular telephone that received the
18
      Text. Plaintiff’s number is on the National No Not Call registry and the phone is
19
20    for personal use.
21          19.    Defendants’ Text to Plaintiff constituted a call that was not for
22
      emergency purposes as defined by 47 U.S.C. § 227(b)(l)(A)(i).
23
24          20.    Plaintiff never requested, desired, permitted, or otherwise provided his
25    prior express consent to Defendants to send or transmit the Text or any other texts
26
      to his cellular telephone.
27
28

                                              6
                                   CLASS ACTION COMPLAINT
     Case 2:20-cv-07145 Document 1 Filed 08/08/20 Page 7 of 16 Page ID #:7



1           21.    Plaintiff never provided his prior express written consent to
2
      Defendants to send or transmit the Text or any other advertisement or telemarketing
3
4     to his cellular telephone.

5           22.    The sending number utilized by Defendants to send the text, 466-379,
6
      is a SMS short code, does not receive return phone calls, on information and belief,
7
8     is used solely to send text messages en masse, and is owned by Defendants.
9           23.    The Text itself is merely a generic message offering savings on
10
      prescription refills using Defendants’ Member ID card. On information and belief,
11
12    no human directed the text message to Plaintiff’s telephone number; rather,
13    Plaintiff’s number was called using a random or sequential number generator.
14
            24.    Based on the foregoing, Defendants’ text message was sent utilizing an
15
16    ATDS.
17          25.    As a result of receiving the Text, Plaintiff incurred expenses to his
18
      wireless service, wasted data storage capacity, suffered the nuisance, waste of time,
19
20    and aggravation that accompanies receipt of such unauthorized advertisements, and
21    was subjected to an intrusion upon seclusion and invasion of privacy.
22
            26.    On information and belief, Defendants sent the Text, or other text
23
24    messages, en masse to thousands of randomly generated cellular telephone numbers
25    using an automatic telephone dialing system.
26
            27.    On information and belief, Defendants sent the text message to
27
28    Plaintiff and the Class members using equipment that had the capacity to store or

                                              7
                                   CLASS ACTION COMPLAINT
     Case 2:20-cv-07145 Document 1 Filed 08/08/20 Page 8 of 16 Page ID #:8



1     produce telephone numbers to be called using a random or sequential number
2
      generator, and to dial such numbers without human intervention.
3
4           28.     On information and belief, the Class members did not provide

5     Defendants with prior express written consent to receive such text messages and, as
6
      a result, incurred expenses to their wireless services, wasted data storage capacity,
7
8     suffered the aggravation that accompanies receipt of such unauthorized
9     advertisements, and were subjected to an intrusion upon seclusion.
10
                            V. CLASS ACTION ALLEGATIONS
11
12          29.      Pursuant to Fed. R. Civ. P. 23(a) and (b)(3), Plaintiff brings this class
13    action on behalf of the following Class:
14
                  All individuals in the United States who, within the four years
15
16                prior to the filing of the instant Complaint, received a text
17                message to their cellular telephones from Defendants through
18
                  the use of an automatic dialing system and who did not provide
19
20                prior express consent and/or prior express written consent to
21                receive such text messages.
22
      Excluded from the Class are Defendants and their officers, directors, shareholders,
23
24    employees, and agents and members of the Judiciary. Plaintiff reserves the right to
25    amend the class definition upon completion of class certification discovery.
26
            30.     Class Size (Fed. R. Civ. P. 23(a)(1)): Plaintiff is informed and
27
28    believes, and upon such information and belief avers, that the number of persons

                                              8
                                   CLASS ACTION COMPLAINT
     Case 2:20-cv-07145 Document 1 Filed 08/08/20 Page 9 of 16 Page ID #:9



1     and entities of the Class is numerous and joinder of all members is impracticable.
2
      Plaintiff is informed and believes, and upon such information and belief avers, that
3
4     the number of Class members is at least forty (40) based on Defendants’ use of

5     automated and impersonal text message content sent via a telephone number with
6
      an automated message center.
7
8           31.    Commonality (Fed. R. Civ. P. 23 (a)(2)): Common questions of law
9     and fact apply to the claims of all class members. Common material questions of
10
      fact and law include, but are not limited to, the following:
11
12                 a. Whether Defendants sent non-emergency text messages to Plaintiff
13                    and the Class members’ cellular telephones using an automatic
14
                      telephone dialing system;
15
16                 b. Whether Defendants had prior express written consent to send their
17                    automated text messages;
18
                   c. Whether Defendants’ conduct was knowing and/or willful;
19
20                 d. Whether Defendants are liable for damages, and the amount of such
21                    damages; and
22
                   e. Whether Defendants should be enjoined from such conduct in the
23
24                    future.
25          32.    Typicality (Fed. R. Civ. P. 23(a)(3)): Plaintiff’s claims are typical of
26
      the claims of all Class members. Plaintiff received the same or similar unsolicited
27
28    text message as the other Class members sent by or on behalf of Defendants

                                              9
                                   CLASS ACTION COMPLAINT
     Case 2:20-cv-07145 Document 1 Filed 08/08/20 Page 10 of 16 Page ID #:10



1      advertising the availability or quality of goods and services of the Defendants
2
       during the Class Period. Plaintiff is making the same claims and seeking the same
3
4      relief for itself and all Class members based upon the same federal statute.

5      Defendants have acted in the same or in a similar manner with respect to the
6
       Plaintiff and all the Class members by sending Plaintiff and each member of the
7
8      Class the same or other text messages.
9            33.    Fair and Adequate Representation (Fed. R. Civ. P. 23(a)(4)): Plaintiff
10
       will fairly and adequately represent and protect the interests of the class. Plaintiff is
11
12     interested in this matter, has no conflicts, and has retained experienced class
13     counsel to represent the class.
14
             34.    Predominance and Superiority (Fed. R. Civ. P. 23(b)(3)): Common
15
16     questions of law and fact predominate over any questions affecting only individual
17     members, and a class action is superior to other methods for the fair and efficient
18
       adjudication of the controversy because:
19
20                  a. Proof of Plaintiff’s claims will also prove the claims of the Class
21                     without the need for separate or individualized proceedings;
22
                    b. Evidence regarding defenses or any exceptions to liability that
23
24                     Defendants may assert and attempt to prove will come from
25                     Defendants’ records and will not require individualized or separate
26
                       inquiries or proceedings;
27
28

                                               10
                                    CLASS ACTION COMPLAINT
     Case 2:20-cv-07145 Document 1 Filed 08/08/20 Page 11 of 16 Page ID #:11



1                  c. Defendants have acted and are continuing to act pursuant to
2
                      common policies or practices in the same or similar matter with
3
4                     respect to all Class members;

5                  d. The amount likely to be recovered by individual Class members
6
                      does not support individual litigation. A class action will permit a
7
8                     large number of relatively small claims involving virtually identical
9                     facts and legal issues to be resolved efficiently in one proceeding
10
                      based upon common proofs; and
11
12                 e. This case is inherently manageable as a class action in that:
13                       i. Defendants identified persons or entities to receive the
14
                            unauthorized text messages and Defendants’ computer and
15
16                          business records will likely enable Plaintiff to readily
17                          identify class members and establish liability and damages;
18
                         ii. Liability and damages can be established for Plaintiff and the
19
20                          class with the same common proofs:
21                      iii. Statutory damages are provided for in the statute and are the
22
                            same for Plaintiff and all Class members and can be
23
24                          calculated in the same or a similar matter;
25                      iv. A class action will result in an orderly and expeditious
26
                            administration of claims and it will foster economics of time,
27
28                          effort, and expense;

                                             11
                                  CLASS ACTION COMPLAINT
     Case 2:20-cv-07145 Document 1 Filed 08/08/20 Page 12 of 16 Page ID #:12



1                          v. A class action will contribute to uniformity of decisions
2
                              concerning Defendants’ practices; and
3
4                         vi. As a practical matter, the claims of the Class are likely to go

5                             unaddressed absent class certification.
6
             35.        The nature of notice to the proposed class required and/or
7
8      contemplated (L.R. 23-2-2(g): Plaintiff contemplates that any notice to the
9      proposed class shall include the class definition as certified by the Court and
10
       specific directions on how a class member can opt out of the class if it/he so desires.
11
12     If a class-wide settlement is reached, the notice shall include specific directions on
13     how a class member will receive its/his share of the settlement and detailed
14
       instructions if it/he wishes to object to any part of the settlement.
15
16                                         VI. COUNT I
17                        Violation of the TCPA, 47 U.S.C. § 227(b)(3)
18
             36.    Plaintiff incorporates by reference paragraphs 1-34 as if fully set forth
19
20     herein.
21           37.    The Text Defendants sent Plaintiff and the Class members is an
22
       advertisement as defined by 47 C.F.R. § 64.1200(f)(1) because it promotes
23
24     Defendants’ property, goods, or services.
25           38.    Defendants and/or their agent sent the Text, or other unsolicited
26
       automated text messages to the cellular telephone number of Plaintiff and the other
27
28

                                               12
                                    CLASS ACTION COMPLAINT
     Case 2:20-cv-07145 Document 1 Filed 08/08/20 Page 13 of 16 Page ID #:13



1      Class members en masse without their prior express consent and prior express
2
       written consent.
3
4            39.       Defendants sent the Text, or had it sent on their behalf, using an

5      automatic telephone dialing system or device which has the capacity to store or
6
       produce telephone numbers to be called using a random or sequential number
7
8      generator, and to dial such numbers.
9            40.       Defendant utilized equipment that sent the text messages, including the
10
       Text, to Plaintiff and other Class members simultaneously and without human
11
12     intervention.
13           41.       By sending the unsolicited text messages to Plaintiff and the Class,
14
       Defendants violated 47 U.S.C. § 227(b)(1)(A)(iii).
15
16           42.       As a result of Defendants’ conduct and pursuant to § 227(b)(3) of the
17     TCPA, Plaintiff and the Class were harmed and are each entitled to a minimum of
18
       $500.00 in damages for each violation. Plaintiff and the Class are also entitled to
19
20     an injunction against future calls by Defendants.
21                                         VII. COUNT II
22
            Willful and/or Knowing Violation of the TCPA, 47 U.S.C. § 227(b)(3)
23
24           43.          Plaintiff incorporates by reference paragraphs 1-34 as if fully set
25     forth herein.
26
             44.       The Text Defendants sent Plaintiff and the Class is an advertisement as
27
28

                                                 13
                                      CLASS ACTION COMPLAINT
     Case 2:20-cv-07145 Document 1 Filed 08/08/20 Page 14 of 16 Page ID #:14



1      defined by 47 C.F.R. § 64.1200(f)(1) because it promotes Defendants’ property,
2
       goods, or services.
3
4            45.    Defendants and/or their agent sent the Text, or other unsolicited

5      automated text messages to the cellular telephone number of Plaintiff and the Class
6
       members en masse without their prior express consent and prior express written
7
8      consent.
9            46.    Defendants sent the Text, or had it sent on their behalf, knowingly
10
       using an automatic telephone dialing system or device which has the capacity to
11
12     store or produce telephone numbers to be called using a random or sequential
13     number generator, and to dial such numbers.
14
             47.    Defendants knowingly utilized equipment that sent the text messages,
15
16     including the Text, to Plaintiff and other Class members simultaneously and
17     without human intervention.
18
             48.    Defendants knew that they did not have prior express consent or prior
19
20     express written consent to send the Text to Plaintiff and the Class.
21           49.    On information and belief, Defendants knew, or willfully ignored the
22
       fact, that their conduct as alleged herein violated the TCPA.
23
24           50.    As a result of Defendants’ conduct and pursuant to § 227(b)(3) of the
25     TCPA, Plaintiff and the Class were harmed and entitled to statutory relief.
26
             51.    As a result of Defendants knowing that Plaintiff and the Class had not
27
28

                                              14
                                   CLASS ACTION COMPLAINT
     Case 2:20-cv-07145 Document 1 Filed 08/08/20 Page 15 of 16 Page ID #:15



1      given prior express consent to receive the text messages, the Court should treble the
2
       amount of statutory damages available to Plaintiff and the Class.
3
4                                  VIII. RELIEF REQUESTED

5              WHEREFORE, Plaintiff, George Pappas, individually and on behalf of all
6
       others similarly situated, demands judgment in his favor and against Defendants,
7
8      GoodRx, Inc. and GoodRx Holdings, Inc., jointly and severally, as follows:
9         A.        That the Court adjudge and decree that the present case may be
10
                     properly maintained as a class action, appoint Plaintiff as the
11
12                   representative of the Class, and appoint Plaintiff’s counsel as counsel
13                   for the Class;
14
          B.        That the Court award actual monetary loss from such violations or the
15
16                   sum of five hundred dollars ($500.00) for each violation, whichever is
17                   greater, and award treble damages if the violations were done willfully
18
                     and/or knowingly;
19
20        C.        That the Court award costs and prejudgment interest from the date the
21                   Text was sent to the date the Court enters judgment;
22
          D.        That the Court enjoin Defendants from additional violations; and
23
24        E.        That the Court provide such further relief as the Court may deem just
25                   and proper.
26
27
28

                                                 15
                                      CLASS ACTION COMPLAINT
     Case 2:20-cv-07145 Document 1 Filed 08/08/20 Page 16 of 16 Page ID #:16



1
2
3      DATED: August 7, 2020              LEXICON LAW, PC
4
5                                         By: /s/ Tiffany N. Buda
                                          JOHN R. HABASHY, ESQ.
6                                         TIFFANY N. BUDA, ESQ.
7
                                          ANDERSON + WANCA
8                                         RYAN M. KELLY (pro hac vice to be
9                                         submitted)

10                                        Attorneys for Plaintiff GEORGA PAPPAS
11                                        and the Proposed Class

12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                            16
                                 CLASS ACTION COMPLAINT
